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                                         UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF PENNSYLVANl


    Jared Carty and Pimporn Carty
                                                                                   CIVIL ACTIO
                             Plaintitl

                  v.
  Steem Monsters Corp. et al.
                             Defendant.


         CONSENT AND REFERENCE OF A CIVIL ACTION TO AM GISTRATE JUDGE


       The following parties consent (subject to approval by the assigne« Article Illjudicial officer) to
have a United States Magistrate Judge conduct all proceedings in this ca ·e including trial, the entry of
                           final judgment, and all post-trial proceeding, .

         Parties' Printed Names:                                Sirmatures of Parties or Attor eys:                              Dates:

    Jared Carty and Pimporn Carty                                                                                              4/15/2021
      Steem Monsters Corp.                                                                                                     4/ 15/2021
       Steem Engine Corp.                                                                                                       4/15/2021
      Blair Reich and Matt Rosen                                                                                                 4/1512021


                                                             Reference Order

      IT IS ORDERED: This ca!)·e is referred to United States Magist te Judge Henry S. Perkin to
conduct all proceedings and order the entry ofa final judgment in acco ance with 28 U.S.C. §636(c)
                                        and Fed.R. Civ.P. 73


                                                                                /s/ Joseph                  • Leeson, Jr.
                                                                                                  Distr ct Judge's Signature


    Date: April 15, 2021                                                                   Jose


     Note: Return this form to the Clerk ofCourt only ifyou are con.fen/Ing to the exercise ofjurisdiction by a United States Magistrate Judge.
                                                        Do not return this form to a judge.
